                            UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF NEW MEXICO


 In re:



 MBF INSPECTION SERVICES, INC.                                Case No. 18-11579-11


          Debtor(s).




      LIMITED OPPOSITION BY THE OFFICIAL COMMITTEE OF UNSECURED
  CREDITORS TO DEBTOR’S MOTION TO EXTEND THE EXCLUSIVE PERIOD IN
          WHICH THE DEBTOR HAS TO FILE A CHAPTER 11 PLAN
          TO THE HONORABLE DAVID T. THUMA, UNITED STATES BANKRUPTCY

JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND PARTIES IN

INTEREST:

          The Official Committee of Unsecured Creditors (the “Committee”) hereby files its

 limited opposition to the Debtor’s Motion to Extend the Exclusive Period in Which the Debtor

 has to File a Chapter 11 Plan (the “Exclusivity Motion”) as follows:

          A. Legal Standard for “Cause” to Extend Plan Exclusivity under 11 U.S.C. §

             1121(d)(1).

          In this Court’s memorandum opinion in In re Akbari–Shahmirzadi, 2014 WL 5798932

 (Bankr. D.N.M. 2014), the Court discussed its discretion with respect to extending plan

 exclusivity under 11 U.S.C. § 1121(d), as well a non-exclusive list of factors (referred to herein

 as the “Dow Corning factors”) which the Court may consider in exercising its discretion:

          “Case law makes clear that the bankruptcy court has discretion to grant or deny

          motions to extend exclusivity. See, e.g., In re Adelphia Commc'ns Corp., 352 B.R.




Case 18-11579-t11          Doc 113    Filed 11/05/18     Entered 11/05/18 13:51:45 Page 1 of 6
       578, 586 (Bankr.S.D.N.Y.2006); In re New Meatco Provisions, LLC, 2014 WL

       917335, at *3 (Bankr. C.D. Cal.2014). The decision is fact-specific. Adelphia

       Commc'ns, 352 B.R. at 586. The court may consider multiple factors, including

       (a) the size and complexity of the case; (b) the necessity for sufficient time to

       permit the debtor to negotiate a plan of reorganization and prepare adequate

       information; (c) the existence of good faith progress toward reorganization; (d)

       the fact that the debtor is paying its bills as they become due; (e) whether the

       debtor has demonstrated reasonable prospects for filing a viable plan; (f) whether

       the debtor has made progress in negotiations with its creditors; (g) the amount of

       time which has elapsed in the case; (h) whether the debtor is seeking an extension

       of exclusivity in order to pressure creditors to submit to the debtor's

       reorganization demands; and (i) whether an unresolved contingency exists. In re

       Dow Corning Corp., 208 B.R. 661, 664–65 (Bankr.E.D.Mich.1997); Adelphia

       Commc'ns, 352 B.R. at 587.”

Akbari–Shahmirzadi, 2014 WL 5798932 *4.

       B. The Exclusivity Motion does not Adequately Analyze the Dow Corning Factors.

       The Debtor’s Exclusivity Motion fails to address many of the Dow Corning factors.

Further, although the cursory allegations made in the Exclusivity Motion touch on a few of these

nine factors, the Debtor presents no evidence by way of declaration or documentation to support

its statements, much less establish “cause” to extend its plan exclusivity. The Committee

presumes that additional facts and evidence will be submitted to the Court upon reply to this

Opposition to establish cause under § 1121(d); however, if no such facts and evidence are

presented, then the Exclusivity Motion should be denied.




                                                 2

Case 18-11579-t11       Doc 113     Filed 11/05/18      Entered 11/05/18 13:51:45 Page 2 of 6
       C. The Debtor’s Resistance to Creditor Involvement is Contrary to the Goal of

           Moving this Case Forward to a Successful Reorganization.

       The Committee understands that initial requests for exclusivity are commonly granted;

however, most troubling to the Committee is that the Debtor has exerted substantial effort to try

to shut out the voice of unsecured creditors in this case. The Debtor has objected to requests by

counsel for certain individual unsecured creditors, as well as proposed counsel for the

Committee, which was duly formed by the United States Trustee (the “UST”) on September 5,

2018, to appear pro hac vice in this case.1 The ability for various counsel to appear pro hac vice

is generally non-controversial in chapter 11 cases. Further, the Debtor has challenged the UST’s

discretion with respect to the composition of the Committee, which challenge essentially seeks to

disband the Committee.2 Most recently, the Debtor has objected to employment application of
counsel to the Committee.3

       The Committee respectfully submits that these actions are wasteful, costly to the Debtor

and this bankruptcy estate, and do not move this case forward with respect to a successful

chapter 11 reorganization. Instead, the Committee is concerned that continued tactics such as

these (all of which the Committee believes lack substantive merit) will delay a constructive

engagement with the Committee and unsecured creditors negotiating the terms of a plan. The

Debtor’s conduct undermines unsecured creditor participation in this case and is a factor that

argues against the Debtor’s retention of the exclusive right to file a plan.




1
  Motion to set aside and reconsider order on motion to appear pro hac vice with respect to
Matthew Helland and Alexander Baggio [Dkt. No. 63]; an amended motion to set aside and
reconsider order on motion to appear pro hac vice with respect to Matthew Helland and
Alexander Baggio [Dkt. No. 69]; responses to oppositions filed by Messrs. Helland and Baggio
[Dkt. Nos. 73 and 74]; Motion Motion to set aside and reconsider order on motion to appear pro
hac vice with respect to Daniel Reiss [Dkt. No. 79].
2
  Motion to Remove Certain Members from the [sic] UCC Unsecured Creditors Committee and
Reconstitute that Committee in Accord with Law, filed September 17, 2018 [Dkt. No. 71].
3
  Objection to Motion to Employ Levene, Neale, Bender, Yoo and Brill L.L.P. as General
Bankruptcy Counsel for the Official Committee of Unsecured Creditors [Dkt. No. 109].
                                                  3

Case 18-11579-t11        Doc 113     Filed 11/05/18      Entered 11/05/18 13:51:45 Page 3 of 6
       The Debtor has fiduciary duties to unsecured creditors,4 and their interests and rights

should be heard, considered and protected in this case. As stated by the Fifth Circuit in In re

Timbers of Inwood Forest Associates, Ltd.:

       A principal goal of the reorganization provisions of the Bankruptcy Code is to

       benefit the creditors of the Chapter 11 debtor by preserving going-concern values

       and thereby enhancing the amounts recovered by all creditors. . . . However,

       when there is no reasonable likelihood that the statutory objective of

       reorganization can be realized or when the debtor unreasonably delays, then the

       automatic stay and other statutory provisions designed to accomplish the

       reorganization objective become destructive of the legitimate rights and interests

       of creditors, the intended beneficiaries. In that situation it is incumbent upon the

       bankruptcy judge to effectuate the provisions of the Bankruptcy Code for the

       protection of creditors lest the judge keep the Code's word of promise to the ear of

       creditors and break it to their hope.”

In re Timbers of Inwood Forest Associates, Ltd., 808 F.2d 363, 371 - 372 (5th Cir. 1987) (en
banc), aff'd, 484 U.S. 365, 108 S.Ct. 626, 98 L.Ed.2d 740 (1988).

        The Debtor must engage with the representatives of unsecured creditors in order to carry

out its duties to creditors, but clearly has not done so. Even though counsel for the Debtor states

that she has prepared a draft plan of reorganization, the Debtor has not reached out to the

Committee to discuss the terms of a plan of reorganization. This lack of engagement with the

Committee, and the Debtor’s apparent intent to file a plan without consultation with the

4
  In re Doors and More, 126 B.R. 43, 45 (Bankr. E.D. Mich. 1991) (“In a Chapter 11 case, it is
fundamental that a debtor in possession or a trustee is obligated to act not in his or her own best
interest, but rather in the best interest of the entire estate, including the creditors and owners of
the debtor estate.”); In re Grabill Corp., 113 B.R. 966, 970 (Bankr.N.D.Ill.1990), aff'd, 983 F.2d
773 (7th Cir.1993) (“A Chapter 11 debtor-in-possession administers the assets of the estate and
any business conducted therein, as a fiduciary for both the equity interests and creditors”); In re
B & W Tractor Co., 38 B.R. 613, 614 (Bankr.E.D.N.C.1984) (debtor-in-possession is acting for
benefit of itself, its owners, and its creditors); In re Curry and Sorensen, Inc., 57 B.R. 824 (9th
Cir. BAP 1986).
                                                  4

Case 18-11579-t11        Doc 113     Filed 11/05/18      Entered 11/05/18 13:51:45 Page 4 of 6
Committee, indicates a reorganization strategy that ignores creditor interests. This disregard for

creditor involvement in the plan process further indicates that the Debtor’s request for an

extension of plan exclusivity will not foster “good faith progress toward reorganization” nor

“progress in negotiations with its creditors”. (Dow Corning Corp., supra, factors (c) and (f)).

Rather, the Debtor’s conduct may demonstrate that “the debtor is seeking an extension of

exclusivity in order to pressure creditors to submit to the debtor's reorganization demands”.

(Dow Corning Corp., supra, factor (h)).

       The Committee submits that a chapter 11 reorganization strategy that fails to adequately

consider and protect unsecured creditor interests will not prevail. Further, the Committee is

concerned that an unnecessarily combative stance by the Debtor may substantially increase delay

and attendant administrative costs in this case, which can have a significant adverse impact on

the success of this chapter 11 reorganization.

       For the foregoing reasons, the Committee requests that the Debtor provide sufficient

justification under the Dow Corning factors, and such other relevant facts and evidence that

justify the requested extension of exclusivity. If the Debtor fails to do so, the Exclusivity Motion

should be denied.
Dated: November 5, 2018                                LEVENE, NEALE, BENDER, YOO
                                                       & BRILL L.L.P.



                                                 By:
                                                       Daniel H. Reiss
                                                       Proposed Counsel for the Official
                                                       Committee of Unsecured Creditors




                                                   5

Case 18-11579-t11       Doc 113      Filed 11/05/18     Entered 11/05/18 13:51:45 Page 5 of 6
                                    CERTIFICATE OF SERVICE



       I hereby certify that a true and correct copy of the above was filed electronically on

November 5, 2018 pursuant to the service requirements of the ECF/CM for the United States

Bankruptcy Court for the District of New Mexico, which will notify all counsel of record.



                                             s/ Daniel H. Reiss
                                             Daniel H. Reiss




                                                6

Case 18-11579-t11      Doc 113      Filed 11/05/18     Entered 11/05/18 13:51:45 Page 6 of 6
